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 1                                               THE HONORABLE RICARDO S. MARTINEZ
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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9
     UNITED STATES OF AMERICA,                       ) No. CR20-99 RSM
10                                                   )
                      Plaintiff,                     )
11                                                   )
                 v.                                  ) ORDER ON STIPULATED MOTION TO
12                                                   ) CONTINUE TRIAL
     JUSTINE MOSES,                                  )
13                                                   )
                      Defendants.                    )
14                                                   )

15          This matter comes before the Court on the motion of the government and Ms. Moses to
16   continue the trial in this matter, and to set a new pretrial motion cutoff consistent with that new
17   trial date. Having considered the stipulated motion of the parties, the Court finds and rules as

18   follows:
            The facts supporting continuing the trial and excluding the consequent delay are set
19
     forth in the Stipulated Motion to Continue, incorporated by this reference.
20
            THIS COURT FINDS, pursuant to Title 18, United States Code, Section
21   3161(h)(7)(B)(i) and (ii) that the charges are serious and carry potential substantial
22   imprisonment penalties, and this case is sufficiently complex, due to the volume of discovery

23   provided and to be provided, to include numerous recordings, that it is unreasonable to expect
     adequate preparation by the parties for pretrial proceedings or for the trial itself by the current
24
     trial date, or for the immediate future.
25
            THE COURT THEREFORE FINDS that failure to grant the continuance in this case
26   would result in a miscarriage of justice, because failing to continue this matter for a

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                                                                                         (206) 445-0212
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     considerable period of time would deny counsel for the parties the reasonable time necessary
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     for effective preparation, due to defense counsel’s need for more time to review the discovery
 2
     and evidence produced, and still to be produced, and to consider possible defenses and
 3   motions, taking into account the exercise of due diligence.
 4           THE COURT FINDS, in light of these factors, that it is unlikely that the parties can be
 5   reasonably ready to try this matter before March 8, 2021 at the earliest.
             THIS COURT FINDS, pursuant to Title 18, United States Code, Section 3161(h)(6)
 6
     and (7), that this is a reasonable period of delay in that the majority of the defendants have
 7
     indicated they require more time to prepare for trial. The Court finds that given the complexity
 8
     of the case, and the volume of discovery produced, and still to be produced, that more time is,
 9   in fact, necessary.
10           THIS COURT FINDS, therefore, that pursuant to Title 18, United States Code,

11   Sections 3161(h)(6) and 3161(h)(7), the ends of justice will best be served by a continuance,
     and that they outweigh the interests of the public and the defendant in a speedy trial.
12
             THIS COURT FURTHER FINDS that all of the additional time requested between the
13
     filing of this motion and the new trial date of March 8, 2021, is necessary to provide counsel
14   for the defendant the reasonable time necessary to prepare for trial.
15           NOW, THEREFORE, IT IS HEREBY ORDERED that the trial date will be continued
16   as to the Defendant in the case captioned above until March 8, 2021, at 9:00 a.m.
             IT IS HEREBY ORDERED, that pretrial motions will be filed no later than January 21,
17
     2021.
18
             IT IS HEREBY ORDERED that the defendant shall file a speedy trial waiver no later
19
     than September 18, 2020, to the extent she has not already done so.
20           IT IS FURTHER ORDERED that the time between the date the motion to continue was
21   filed and the new trial date is excluded in computing the time within which a trial must be held

22   pursuant to Title 18, United States Code, Section 3161, et seq.
             DATED this 11th day of September, 2020.
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26
                                                   A
                                                   RICARDO S. MARTINEZ


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                                               CHIEF UNITED STATES DISTRICT
 1
                                               JUDGE
 2
 3
     Presented by:
 4
 5
     /s/Christopher Carney
 6
     CHRISTOPHER CARNEY
 7   Attorney for Justine Moses
     Carney Gillespie PLLP
 8   600 1st Ave., Suite LLl08
     Seattle, WA 98104
 9   206-445-0220
     Fax: 206-445-0220
10   Email: christopher.carney@carneygillespie.com
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